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            15                              UNITED STATES DISTRICT COURT

            16                             NORTHERN DISTRICT OF CALIFORNIA

            17                                 SAN FRANCISCO DIVISION

            18

            19   ORACLE AMERICA, INC.,                        Case No. 3:10-cv-03561-WHA

            20                                   Plaintiff,   [PROPOSED] ORDER SEALING
                                                              EXHIBITS J AND M TO DECLARATION
            21          v.                                    OF MEREDITH DEARBORN IN
                                                              SUPPORT OF ORACLE’S RESPONSIVE
            22   GOOGLE INC.,                                 SUPPLEMENTAL BRIEF IN
                                                              OPPOSITION TO GOOGLE’S MOTION
            23                                 Defendant.     IN LIMINE NO. 3 TO EXCLUDE
                                                              PORTIONS OF COCKBURN REPORT
            24                                                ON DAMAGES (DKT. NO. 573)

            25                                                Judge:     Hon. William Alsup

            26
                                                              Date Comp. Filed:   October 27, 2010
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588085.01          [PROPOSED] ORDER SEALING EXHIBITS J AND M TO DEARBORN DECLARATION (DKT. NO. 573)
                                              CASE NO. 3:10-cv-03561-WHA
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             1          This matter came before the Court on Oracle America, Inc.’s Administrative Motion to

             2   file documents under seal (Dkt. No. 571). Based on the arguments presented in the

             3   administrative motion, the declarations in support of the motion, the pleadings on file, and any

             4   other relevant matter, the Court hereby GRANTS the motion, as follows:

             5          Exhibits J and M to the Declaration of Meredith Dearborn in Support of Oracle’s

             6   Responsive Supplemental Brief in Opposition to Google’s Motion in Limine No. 3 to Exclude

             7   Portions of Cockburn Report on Damages (Dkt. No. 573), shall be filed under seal. A redacted

             8   version of Exhibit M with the phone number obscured shall be re-filed in the public record.

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            10          IT IS SO ORDERED,

            11
                                                               HONORABLE WILLIAM ALSUP
            12                                                 UNITED STATES DISTRICT JUDGE
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588085.01          [PROPOSED] ORDER SEALING EXHIBITS J AND M TO DEARBORN DECLARATION (DKT. NO. 573)
                                              CASE NO. 3:10-cv-03561-WHA
